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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF IOWA
                               CENTRAL DIVISION

 Hannah E. Jones,                                Court File No. ____________________

        Plaintiff,

 v.
                                                 CLASS ACTION COMPLAINT
 ARC Automotive, Inc.; Hyundai Motor
 Group; Hyundai Motor Company;                   Jury Trial Demanded
 Hyundai Motor America; Kia
 Corporation; Kia America,Inc.; Hyundai
 Mobis Co., Ltd.; and Mobis Parts
 America,

        Defendants



I.     INTRODUCTION

       1.     If they operate correctly, airbags can save lives and prevent or limit head

injuries in vehicle crashes. Nevertheless, when designed improperly, the inflator device

that sets off an airbag can essentially explode at the wrong time, sending shrapnel into the

head and throat of the driver or passenger, injuring or killing them.

       2.     Defendant ARC Automotive, Inc. (“ARC”) manufactures toroidal stored gas

hybrid airbag inflators that are installed in tens of millions of airbag assembly modules

used in vehicles manufactured and sold in the United States.

       3.     At this early stage, Plaintiff cannot determine with certainty every vehicle

manufacturer by make, model, and model year equipped with a defective ARC toroidal

stored gas hybrid inflator. This action concerns vehicles with either a driver or passenger


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toroidal stored gas hybrid inflator manufactured by ARC from 2001 to the present that use

ammonium nitrate in its propellant or are prone to metal flash problems in the inflator

mechanism (“Class Vehicles”).

       4.     All ARC Inflators at issue are substantially similar and share a common,

uniform defect: the use of ammonium nitrate, a volatile and unstable chemical, as the

propellant, combined with other faulty design decisions that compound the dangers posed

by the volatility of the phase-stabilized ammonium nitrate (“PSAN”), including the failure

to incorporate pressure valve relief valves and using friction welding to secure the inflator

halves without ensuring all metal flash would be removed (the “Inflator Defect”). It is well

known in the airbag industry—and ARC itself has acknowledged—that ammonium nitrate

is a dangerous propellant chemical that can over-pressurize during airbag deployment,

sometimes resulting in violent explosions of the metal inflator canister, which expels

shrapnel into the passenger compartment. The Inflator Defect is present in ARC’s toroidal

stored gas hybrid inflators (the “Defective Inflators”).

       5.     ARC’s stored gas hybrid inflators have ruptured in vehicles at least seven

times, including one passenger inflator and six driver inflators. Two ruptures killed drivers.

At least two more passenger inflators have ruptured during ARC’s internal testing.

       6.     Kia America, Inc., and Hyundai Motor America, Inc are aware of these

hazards because of their similar experiences with the defective Takata airbags. Further,

Hyundai is aware of issues with inaccurate airbag initiation from its recall of Sonata

vehicles related to airbag control units. However, these Defendants have not recalled all of

their vehicles containing the Defective Inflators.

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          7.       The National Highway Traffic Safety Administration (“NHTSA”) is

currently investigating ARC’s toroidal stored gas hybrid inflators. ARC is aware that its

Defective Inflators are installed in millions of vehicles. However, ARC has concealed from

the public the defect that its inflators’ propellent is made from volatile and unstable

ammonium nitrate. ARC has not recalled any of the Defective Inflators. Airbag module

manufacturers are also aware that ARC’s inflators contain a propellant made from the

unstable ammonium nitrate compound but have concealed the Inflator Defect from the

public.

          8.       When Plaintiff and the Class purchased or leased their vehicles, they were

unaware the vehicles contained the Defective Inflators.1 As a result of Defendants’

misconduct and fraudulent concealment, Plaintiff and the Class purchased or leased

vehicles they otherwise would not have acquired, or overpaid to buy or lease their vehicles

than they would have paid, had they been advised of the Inflator Defect at the time of their

purchase or lease. Plaintiff and the Class have sustained economic loss because the

Defective Inflators substantially reduce the value of the vehicles in which they were

installed. Plaintiff and the Class did not receive the benefit of their bargain, since they

purchased and leased vehicles believing they were safe and suitable to use on the roads and

met ordinary and reasonable consumer expectations for safe and reliable operation.

Accordingly, this action seeks to ensure Defendants do not continue to reap economic gains

at the expense of the safety of unsuspecting consumers.



1
    In this Complaint “the Class” includes both the proposed national class and all subclasses.

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II.    PARTIES, JURISDICTION, AND VENUE

       A.     Plaintiff

       9.     Plaintiff, Hannah E. Jones, lives in Des Moines, in Polk County, Iowa. She

purchased a 2011 Kia Sportage from Carmax in 2014. When she purchased the Sportage,

she had a reasonable expectation that the vehicle had properly designed airbags without a

dangerous defect that could cause them to rupture and throw metal shrapnel into her face

or throat. The Inflator Defect would have been material to her decision to purchase the

vehicle. Had the Inflator Defect been disclosed, she would have declined to purchase the

vehicle, or would have paid less for the vehicle considering this significant safety hazard.

As a result, she did not receive the benefit of her bargain when she purchased her Sportage.

       B.     Defendants

       10.    When Plaintiff refers to a corporate family or family of companies by a single

name in this Complaint (such as “Kia Defendants”) she is alleging that one or more

employees or agents of entities within that corporate family engaged in misconduct on

behalf of every company in that family. The individual participants in misconduct did not

always distinguish between the entities within a corporate family. As a result, those agents

represented the entire corporate family with respect to such conduct.

       11.    Defendant ARC Automotive, Inc., (“ARC”) is a Delaware corporation with

its principal place of business in Tennessee. The Yinyi Group acquired ARC in 2016,

making it a wholly owned subsidiary. The Yinyi Group is sometimes collectively included

with ARC as “ARC.”




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       12.     Defendant Hyundai Motor Group is a general partnership composed of, inter

alia, Hyundai Motor Company, Kia Corporation, and Hyundai Mobis Co., Ltd.

       13.     Defendant Hyundai Motor Company (“HMC”) is a South Korean

multinational automotive manufacturer with its headquarters and principal place of

business in Seoul, South Korea.

       14.     Defendant Hyundai Motor America (“HMA”) is a California corporation

with its headquarters in Fountain Valley, California. HMA is a subsidiary of HMC.

       15.     Defendants HMA and HMC are collectively referred to as “Hyundai” or

“Hyundai Defendants.” Hyundai vehicles sold in the United States contain Defective

Inflators manufactured by ARC.

       16.     Defendant Kia Corporation (“Kia Corp.”) is a South Korean multinational

automobile manufacturer with its headquarters and principal place of business in Seoul,

South Korea.

       17.     Defendant Kia America, Inc. (“Kia US”) is a California corporation with its

principal place of business in Irvine, California. Kia US is a subsidiary of Kia Corp.

       18.     Defendants Kia US and Kia Corp. are collectively referred to as “Kia” or

“Kia Defendants.” Kia vehicles sold in the United States contain Defective Inflators

manufactured by ARC. The Kia Defendants deliver these products into the stream of

commerce with the expectation that they will be purchased by consumers in the United

States and the State of Iowa.

       19.     The Hyundai Defendants and the Kia Defendants are sometimes referred to

collectively as the “Vehicle Manufacturer Defendants.”

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       20.    Defendant Hyundai Mobis Co., Ltd. (“Hyundai Mobis”) is a corporation duly

organized and existing under the laws of South Korea with its headquarters and principal

place of business in Seoul, South Korea. Hyundai Mobis sells and offers for sale in the

United States, including Iowa, certain airbags and occupant restraint system components

as new and after-sales components for inclusion in automobiles in the United States, and

in Iowa, including the Subject Vehicle. Defendant Hyundai Mobis transacts business in

this State either alone or through its subsidiaries and derives substantial revenue from

business in the State of Iowa.

       21.    Defendant Mobis Parts America, LLC (“Mobis Parts”) is a Delaware

corporation with its principal place of business in Fountain Valley, California. Mobis Parts

is a wholly owned subsidiary of Hyundai Mobis and engages in business activities in

furtherance of the interests of Hyundai Mobis. Mobis Parts transacts business in this State

either alone or through its affiliated enterprises and derives substantial revenue from

business in the State of Iowa. Because Mobis Parts transacts business within the State of

Iowa, jurisdiction is proper with respect to Mobis Parts. Mobis Parts and Hyundai Mobis

are sometimes collectively referred to as the “Airbag Module Defendants.”

       C.     Jurisdiction and Venue

       22.    This Court has subject matter jurisdiction under the Class Action Fairness

Act of 2005 (“CAFA”), 28 U.S.C. §§ 1332(d)(2) and (6) because (i) there are 100 or more

Class Members, (ii) there is an aggregate amount in controversy exceeding $5,000,000

exclusive of interest and costs, and (iii) there is minimal diversity because at least one

Plaintiff and one Defendant are citizens of different states.

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       23.    This Court also has subject matter jurisdiction for federal questions pursuant

to 28 U.S.C. § 1331 because of Plaintiff’s claim based on the Magnuson-Moss Warranty

Act, 15 U.S.C. § 2301, et seq.

       24.    Subject matter jurisdiction is also proper because this Court has supplemental

subject matter jurisdiction over Plaintiff’s state law claims pursuant to 18 U.S.C. § 1367.

       25.    Venue is proper in this judicial district because Defendants transact

substantial business in this district and because Plaintiff purchased the vehicle at issue in

this district. At least the Vehicle Manufacturer Defendants have advertised in this District

and all Defendants have received substantial revenue and profits from sales or leases of the

Class Vehicles in this district. Therefore, a substantial part of the events and omissions

giving rise to the claims occurred, in part, within this district.

       D.     Personal Jurisdiction – Hyundai Motor Group

              1.      Hyundai Motor Group

       26.    This Court has personal jurisdiction over Defendant Hyundai Motor Group,

a foreign partnership, because it conducts substantial business in the State of Iowa such

that it should anticipate being haled into Court here, has an agent in the State of Iowa,

because its acts and/or omissions and the consequences thereof resulted in tortious injury

to Plaintiff and Class Members in this state, and because some of the actions giving rise to

this Complaint took place in this state. This includes sales of the Kia and Hyundai-branded

Class Vehicles manufactured and shipped to the United States by Hyundai Motor

Corporation containing defective airbag modules manufactured by Hyundai Mobis Co.,

Ltd. containing Defective Inflators manufactured by ARC.

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       27.      Hyundai Motor Group is a partnership of multiple corporations including,

Hyundai Motor Company, Kia Motors Corporation, and Hyundai Mobis Co., Ltd.

       28.      The Hyundai Motor Group partnership is solidified by a series of cross

holdings, including:

             i. Kia Corporation owns approximately 17.33% of Hyundai Mobis Co., Ltd;

             ii. Hyundai Mobis Co., Ltd. owns approximately 17.28% of Kia Corporation;

         iii. Hyundai Mobis Co., Ltd. owns approximately 21.43% of Hyundai Motor

                Company; and

          iv. Hyundai Motor Company owns approximately 33.88% of Kia Corporation.

       29.      The Hyundai Motor Group collectively designs and builds Kia and Hyundai

vehicles, integrating component parts from Hyundai Mobis, including ARC sourced

inflators, and distributes these vehicles and parts globally, including to the State of Iowa.

       30.      Hyundai Motor Group is subject to personal jurisdiction within the State of

Iowa because its members, acting as both principals and agents, have transacted business

in the State of Iowa, have contracted to supply Class Vehicles and Defective Inflators in

the State of Iowa, have produced, manufactured, and distributed vehicles and Defective

Inflators with the reasonable expectation that the vehicles and Defective Inflators would

be used in the State of Iowa.

       31.      Hyundai Motor Group is subject to personal jurisdiction within the State of

Iowa because its members are subject to personal jurisdiction within the State of Iowa.




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              2.     Hyundai Motor Company

       32.    This Court has personal jurisdiction over Defendant Hyundai Motor

Company, a foreign corporation, because it conducts substantial business in the State of

Iowa such that it should anticipate being haled into Court here, has an agent in the State of

Iowa, because its acts and/or omissions and the consequences thereof resulted in tortious

injury to Plaintiff and Class Members in this state, and because some of the actions giving

rise to this Complaint took place in this state. This includes sales of the Hyundai-branded

Class Vehicles manufactured and shipped to the United States by Hyundai Motor

Corporation containing Defective Inflators manufactured by ARC.

       33.    Hyundai Motor Company owns approximately 33.88% of Kia Corporation.

       34.    Hyundai Motor Company is the sole owner of Hyundai Motor America.

       35.    Hyundai Motor Company’s stated business purposes include (1) the

manufacture and sale of all kinds of vehicles, (2) engaging in the import and export

business, (3) wholesale of vehicle parts and automobile supplies, (4) engaging in the

development and sales of resources overseas, and (5) to operate all related businesses.

Hyundai Motor Company’s charter specifically allows that it may establish factories,

branch offices, or sub-branch offices away from its home location.

              3.     Hyundai Motor America

       36.    This Court has personal jurisdiction over Defendant Hyundai Motor America

(“HMA”) a foreign corporation because it conducts substantial business in the State of

Iowa such that it should anticipate being haled into Court here, has an agent in the State of

Iowa, sells its vehicles in Iowa through a dealership network with the intent that its vehicles

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would be purchased and used in Iowa, maintains websites in which Iowa residents can

communicate with Hyundai Motor America, corresponds with Iowa residents with respect

to recalls, warranty issues, and technical service bulletins, because its acts and/or omissions

and the consequences thereof resulted in tortious injury to Plaintiff and Class Members in

this state, and because some of the actions giving rise to this Complaint took place in this

state.

          37.   Hyundai Motor America is wholly owned by Hyundai Motor Company.

                4.    Kia Corporation

          38.   This Court has personal jurisdiction over Defendant Kia Corporation, a

foreign corporation, because it conducts substantial business in the State of Iowa such that

it should anticipate being haled into Court here, has an agent in the State of Iowa, because

its acts and/or omissions and the consequences thereof resulted in tortious injury to Plaintiff

and Class Members in this state, and because some of the actions giving rise to this

Complaint took place in this state. This includes sales of the Kia-branded Class Vehicles

manufactured and shipped to the United States by Kia Motors Corporation containing

Defective Inflators manufactured by ARC.

          39.   Kia Motors Corporation changed its name to Kia Corporation in 2021.

                5.    Kia America, Inc.

          40.   This Court has personal jurisdiction over Defendant Kia America, Inc., a

foreign corporation, because it conducts substantial business in the State of Iowa such that

it should anticipate being haled into Court here, has an agent in the State of Iowa, sells its

vehicles in Iowa through a dealership network with the intent that its vehicles would be

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purchased and used in Iowa, maintains websites in which Iowa residents can communicate

with Kia US, corresponds with Iowa residents with respect to recalls, warranty issues, and

technical service bulletins, because its acts and/or omissions and the consequences thereof

resulted in tortious injury to Plaintiff and Class Members in this state, and because some

of the actions giving rise to this Complaint took place in this state.

       41.    Kia Motors America, Inc. changed its name to Kia America, Inc. in 2021.

              6.        Hyundai Mobis Co., Ltd.

       42.    This Court has personal jurisdiction over Defendant Hyundai Mobis Co.,

Ltd., a foreign corporation, because it conducts substantial business in the State of Iowa

such that it should anticipate being haled into Court here, has an agent in the State of Iowa,

sells its products in Iowa through a dealership network with the intent that its products

would be purchased and used in Iowa, because its acts and/or omissions and the

consequences thereof resulted in tortious injury to Plaintiff and Class Members in this state,

and because some of the actions giving rise to this Complaint took place in this state.

       43.    Hyundai Mobis Co., Ltd. is the sole owner of Mobis America, Inc., which in

turn is the sole owner of Mobis Parts America, LLC.

       44.    Hyundai Mobis Co., Ltd. is the owner of the former sales divisions for motor

parts for after-sales service for Hyundai and Kia vehicles, which were formerly owned by

Hyundai and Kia, respectively.

       45.    Hyundai Mobis Co., Ltd. has two distinct methods for directing its products

to the State of Iowa:




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             i. Hyundai Mobis Co., Ltd. uses the partnership network known as Hyundai

                Motor Group to sell its component parts, including airbag modules

                incorporating ARC inflators to Hyundai Motors and Kia Corporation for

                installation into new vehicles, which are then distributed through the

                Hyundai Motor Group dealership network to citizens of Iowa.

             ii. Hyundai Mobis Co., Ltd. also sells replacement parts to new and used car

                dealerships, as well as repair shops both through the Hyundai Motor Group

                network via Hyundai and Kia and through Hyundai Mobis Co., Ltd.’s wholly

                owned subsidiary, Mobis Parts America. This distribution procedure applies

                to airbag modules incorporating ARC inflators as each airbag module must

                be replaced after every accident involving a commanded deployment.

                7.     Mobis Parts America

       46.      This Court has personal jurisdiction over Defendant Mobis Parts America, a

foreign corporation, because it conducts substantial business in the State of Iowa such that

it should anticipate being haled into Court here, has an agent in the State of Iowa, sells its

products in Iowa through a dealership network with the intent that its products would be

purchased and used in Iowa, because its acts and/or omissions and the consequences

thereof resulted in tortious injury to Plaintiff and Class Members in this state, and because

some of the actions giving rise to this Complaint took place in this state.




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       E.     Defendants’ Agents

       47.    ARC, the Vehicle Manufacturer Defendants, and the Airbag Module

Defendants acted as agents for each other with respect to the acts and violations alleged in

this Complaint.

       48.    Various persons, partnerships, sole proprietors, firms, and corporations not

named as defendants in this Complaint, whose identities are presently unknown, have

participated as agents with the Defendants in the offenses alleged herein, and have

performed acts and made statements in furtherance of the misconduct and concealment

alleged.

       49.    Whenever this Complaint refers to any act, deed, or transaction of any

corporation or limited liability entity, the allegation means the corporation or entity

engaged in the act, deed, or transaction by or through its officers, directors, agents,

employees, or representatives while they were actively engaged in the management,

direction, control or transaction of the corporation’s or other entity’s business or affairs.

       F.     Aiding and Abetting

       50.    Defendants harmed Plaintiff and the Class through Defendants’ misconduct

and concealment. Defendants are responsible for the harm because the Airbag Module

Defendants and Vehicle Manufacturer Defendants aided and abetted ARC in committing

the misconduct and concealment.

       51.    Although ARC is responsible for manufacturing the Defective Inflators, the

Airbag Module Defendants are responsible for procuring, testing, and approving the

Defective Inflators, and the Vehicle Manufacturer Defendants are responsible for installing

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them in Class Vehicles and selling the Class Vehicles to consumers. The Airbag Module

Defendants and Vehicle Manufacturer Defendants are responsible as aiders and abettors

because they were aware that ARC manufactured driver and passenger toroidal stored gas

hybrid inflators using ammonium nitrate and the potential dangers associated with such

inflators. Nevertheless, the Airbag Module Defendants and Vehicle Manufacturer

Defendants approved the design, ordered the production, and installed the Defective

Inflators, thereby showing that they had the specific intent to facilitate the misconduct that

ARC undertook. At a minimum, the Airbag Module Defendants and Vehicle Manufacturer

Defendants were liable as aiders and abettors of ARC’s tortious conduct, breaches of

warranty, and statutory violations alleged herein. These Defendants’ conduct was a

substantial factor in causing harm to consumers who ultimately and unknowingly

purchased or leased Class Vehicles containing Defective Inflators.

III.    ADDITIONAL FACTUAL ALLEGATIONS

        A.    How Airbags Work.

        52.   In a vehicle crash, seat belts are designed to restrain the drivers’ and

passengers’ bodies from striking the steering wheel or other hard surfaces in the passenger

compartment. However, seat belts impose limited restraints on the occupant’s heads,

allowing heads to strike harmful parts of the car.2




2
 Lesics, Airbags | How Do They Work? https://www.youtube.com/watch?v=qCIes_xJdGo (accessed
November 21, 2022).

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      53.    Properly implemented, airbags inflate and then begin to deflate in a crash in

order to cushion the occupant’s heads from such impacts. Traditionally, dramatic changes

in the car’s forward movement unloosed a ball bearing, which flipped a switch to start the

inflation process. More recently, wheel speed sensors work with gyroscopes, an electronic

control unit, and other sensors to commence inflation.




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       54.     The initiation of the inflation should take only two milliseconds. The airbag

inflates in another 20–30 milliseconds and should be deflating by the time the occupant’s

head hits the airbag, closer to 100 milliseconds into the crash.

       55.     Electrical impulses traditionally set off a chemical reaction in the inflator

mechanism that inflates the airbag.3




       B.      Airbag Inflators’ Design, Assembly, and Placement.

       56.     ARC has a long history of developing propellants for use in rocket motors

and airbag inflators, among other products. The company was formed as Atlantic Research

Corporation in 1949 to develop propellants for the United States Department of Defense.

ARC first supplied passenger-side airbag inflator propellants in 1970 and developed its

first hybrid passenger inflators as part of a joint venture with Allied Signal in 1993.



3
 Airbag Inflators, CVEL Automotive Electronics,
https://cecas.clemson.edu/cvel/auto/actuators/airbag.html (accessed November 20, 2022).

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       57.     The airbag inflator is a metal canister that produces the gas that fills an

attached airbag cushion or bag.

       58.     The Defective Inflators are toroidal stored gas hybrid inflators, which means

they are shaped like a small, circular can (toroidal) and are comprised mostly of highly

compressed gas, with a secondary chemical compound propellant used to heat the stored

gas so that it expands sufficiently to fill the airbag cushion. When the vehicle signals a

crash, the inflator is designed to release the stored gas, and then ignite the propellant to

heat the released gas in a stored manner.

       59.     A housing or canister, shaped to fit in the driver or passenger area of the

vehicle, contains the inflator. Passenger inflators are often tubular in shape to fit in the

dashboard area, while driver inflators are typically disc shaped to fit in the steering wheel.

In turn, the inflators are attached to different air bags, which are also shaped to fit in specific

passenger or steering wheel compartments.

       C.      The ARC Inflator Supply Chain.

       60.     ARC is considered a Tier 2 automotive supplier because it supplies

automotive components to a Tier 1 supplier, which then supplies automotive parts to an

Original Equipment Manufacturer (OEM). ARC manufactures the inflators, which it

supplies to airbag system manufacturers, who assemble the airbag module that includes the

ARC inflator. In this situation, Hyundai Mobis and Mobis Parts (here the Airbag Module

Defendants) fulfill the role of the Tier 1 suppliers for other vehicle manufacturers, but as

noted above, they are closer, and are partners of the Hyundai Defendants and Kia

Defendants (the Vehicle Manufacturer Defendants).

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       61.    OEMs typically provide product specifications to their Tier 1 suppliers. The

Tier 1 supplier provides the OEM with engineering design information conforming to the

OEM’s supplier Production Part Approval Process (“PPAP”), which includes

specifications detailing the properties, characteristics, testing, and validation of the

components that make up the assembly. A Tier 2 supplier like ARC typically provides

similar documentation to its Tier 1 correspondents. The OEM examines this information

and approves it before production begins.

       62.    When an issue arises with an automotive part like the airbag module

assembly or one of its components like the inflator, the OEM typically requests to examine

design and validation testing for all relevant components. By the time the ARC Defective

Inflators began rupturing and NHTSA began investigating, the Vehicle Manufacturer

Defendants had examined, or should have examined, all documentation related to ARC’s

inflators, including the construction and the type of chemicals used in the propellant. The

Vehicle Manufacturer Defendants would have worked with ARC and the Tier 1 airbag

module assembly supplier during these evaluations.

       D.     ARC’s Stored Gas Hybrid Inflators Contain Dangerous Ammonium
              Nitrate-Based Propellant.

       63.    Airbag propellants are created by compounding a mixture of chemicals,

which typically include a fuel and an oxidizer. Most inflator manufacturers use a variant

of guanidine nitrate as the fuel in their propellant in frontal impact airbag designs. Other




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airbag makers have used a variant of guanidine nitrate, which experts have called a less

risky and more durable propellant chemical.4

       64.     A small number of airbag propellant manufacturers have used ammonium

nitrate in the past as a fuel alternative due to cost savings. Ammonium nitrate, commonly

used as a fertilizer, is well known for making inexpensive explosives. For example, experts

testified the bomb that destroyed the Oklahoma City Federal Building was probably made

with ammonium nitrate.5 Investigations suggest several, and likely a majority of other

companies use alternate designs that cost somewhat more than ammonium nitrate but are

still profitable and offer a substantial increase in safety over ammonium nnitrate-based

designs.

       65.     Despite the availability of these alternate propellants, ARC has used

ammonium nitrate in its secondary propellant since at least 2001. Secondary propellant

ignites after the initial ignition, which in the ARC inflators is the release of the stored gas.

       66.     Ammonium nitrate is volatile and must be precisely phase-stabilized to

mitigate its explosive characteristics, which exposure to fluctuating temperature cycles

exacerbates. Motor vehicles routinely expose airbags to such fluctuating temperatures.

Most in the scientific, research, safety, OEM, and supplier manufacturing communities

consider using ammonium nitrate overly risky and inappropriate, even when it is phase-

stabilized, or PSAN.


4
 Hiroko Tabuchi, Takata’s Switch to Cheaper Airbag Propellant Is at Center of Crisis, N.Y. Times (Nov.
19, 2014).
5
 Jo Thomas, Experts Testify on Composition of Bomb in Oklahoma City Blast, N.Y. Times (Dec. 2,
1997).

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       67.     PSAN’s faster dynamic burning rate also means that an airbag can rupture if

the vents are inadequate or obstructed, even without high temperatures and moisture

exposure in vehicles. Ford noted in its recall report that its preliminary analysis indicated

“that weld flash from the inflator canister welding process at the Tier 2 inflator supplier

may obstruct the gas exhaust port.” Weld flash or pieces of debris blocking exhaust ports

can complicate over-pressurization and lead to an explosive rupture.

       68.     The design of the Defective Inflators requires welding them using a friction

welding process, in which friction is created between the two shells of the inflator through

rotation, generating heat that causes the steel material to soften and fuse the pieces together.

As the high-speed rotation and force used in friction welding softens the metal, some of

the material splashes out if the weld, creating weld flash when it hardens. In the ARC

inflators, both the outside shells and the internal column in the center of the inflator are

bonded through friction welding and can result in flash. The pieces of flash weld inside the

inflator are not visible.

       69.     When a manufacturer selects the type of welding process it wants to use in

its design, the process must be designed either to have a machine remove the weld flash

after the weld is completed or incorporate the weld flash into the component’s design. The

flash can be minimized or removed by various welding parameters, and the component

manufacturer is responsible for selecting a welding machine and process that incorporates

the appropriate parameters.

       70.     Although welding itself is a manufacturing process, the type of welding used

for a component is incorporated into the design, and friction welding does not involve

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operating skill. Therefore, ARC’s selecting friction welding that did not minimize flash

and ensure all flash was removed was a design defect. This defective design can allow

pieces of weld flash to obstruct the exhaust port, and the resulting over-pressurization is

exacerbated by using PSAN, leading to explosive ruptures.

           71.   According to a New York Times article from 2016, ammonium nitrate is about

30 percent cheaper than other chemicals that can be used in propellants. In the late 1990s,

another inflator manufacturer, Autoliv Inc., began testing PSAN-based inflators and

determined that PSAN can generate gas so fast that it “blows the inflater to bits.” 6 A team

testing one inflator saw an explosive result that “totally destroyed the fixture.” Despite

pressure from General Motors due to potential cost savings, Autoliv “just said, ‘No we

can’t do it. We’re not going to use it.’” TRW used ammonium nitrate with additional

safeguards, but found the safeguards were not cost-effective, and abandoned ammonium

nitrate in 2006. Both Autoliv and TRW were using a propellant based on guanidine nitrate

as of 2016.7 Design specifications by the United States Council on Automotive Research

required Inflators to be evaluated for their “resistance to temperature aging in an

environment of high humidity” to evaluate the damaging effects of moisture and

temperature changes on airbag explosives.8




6
 Hiroko Tabuchi, A Cheaper Airbag, and Takata’s Road to a Deadly Crisis, N. Y. Times (Aug. 26,
2016).
7
    Id.
8
    Id.

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       72.    In 2014, another Inflator manufacturer—Takata Corporation—generated

substantial attention to using PSAN-based propellant when it came out that Takata and

various automotive manufacturers were aware of multiple driver and passenger inflators

covering several model years. The Takata inflator ruptures injured hundreds of people and

killed at least 27 people worldwide.

       73.    Despite industry knowledge PSAN is thermally unstable, excessively

hygroscopic, and unstable with temperature recycling, ARC continued to use PSAN in its

inflators’ secondary propellant for the entire time Takata used it in its main propellant.

       E.     ARC’s Dangerous Design and Production Process.

       74.    The Defective Inflators are a hybrid technology that uses both a propellant

explosive and stored compressed gases to rapidly inflate the air bag.

       75.    Defendant ARC has sold various hybrid inflators since 2001, but they all

share the same “donut” housing shape. ARC designates driver-side hybrid toroidal inflators

as CADH/DH-7 (single stage) and DCADH (dual stage). The passenger-side designations

are PH7-90, PH7-120 (single stage), and PH7-120, DPH7 (dual stage).

       76.    ARC’s hybrid design relies on two energy sources. First, the inflator fills the

airbag cushion by releasing a stored inert gas at high pressure. The gas mixture is

augmented by an ammonium nitrate-based propellant. The pressurized gas mixture and

propellant are contained in a hermetically sealed steel housing and are therefore isolated

from external atmospheric conditions. The ARC hybrid inflators are manufactured in both

single and dual stage designs.




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       77.    ARC hybrid inflators use friction welding to join the three inflator housing

components together. The inflator’s housing components consist of an upper pressure

vessel, a lower pressure vessel and center support.




       78.    Friction welding is a welding technique in which mechanical friction

between a moving component and a stationary component generates heat. At the same time,

the technique applies a lateral force called an ‘upset’ to the parts, in order to plastically

displace and fuse the material.

       79.    ARC hybrid inflators use three separate friction welds. The first friction weld

is between the lower pressure vessel and the center support. The second friction weld is

between the center support and the upper pressure vessel. The third and final friction weld

joins the lower and upper pressure vessels together. Friction welds 2 and 3 are performed

during the same operation.

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       80.    As friction welding seals the components together, the process creates flash.

Controlled and consistent flash creation is a normal and expected by-product of the friction

welding process.

       81.    When friction welding tube shaped components, such as ARC’s center

support, flash is created on both the inner and outer parts of the center support where the

center support interfaces with the pressure vessel (or outer housing).




       82.    If certain parameters, such as part to part alignment, rotational speed, or the

force applied to the parts being welded are out of specification during friction welding,

excess flash will collect at the mating points of the parts being welded. However, the

welded seems are required to be properly aligned and welded by a method that provides

clean, uniform joints with adequate penetration.

       83.    ARC’s design defect and subsequent manufacturing defect involves the

friction weld between the upper pressure and the center support that is adjacent to the gas



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exit port where excess, asymmetrical weld flash is created at the support tube inner

diameter to upper pressure vessel interface.




       84.    During deployment the excess weld flash can dislodge from the friction weld

and travel to the adjacent gas exit orifice.

       85.    If the dislodged weld flash is not large enough to block the gas exit orifice,

the dislodged weld flash will exit the inflator.

       86.    If the dislodged weld flash is large enough to block the gas exit orifice, the

dislodged weld flash will result in an increase of pressure in the inflator housing.

       87.    As the internal pressure of the inflator increases due to the gas exit port

restriction, the toroidal housing expands, deforms, and changes shape from the toroidal

shape to more of a ball shape until it reaches the point of rupture.

       88.    During a driver side rupture of an ARC hybrid inflator, the inflator housing

expands due to the excessive internal pressure. Simultaneously, the center report restricts

the expansion and is stretched as the inflator housing expands. The inflator housing

stretches at its weakest points, which are the stage 1 and stage 2 gas ports located at the

middle of the center support, and fractures under tension at these locations. After the center


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support fractures, the gas exit port end of the center support breaks free of the upper

pressure vessel and is propelled towards the driver.

       89.    When the inflator housing ruptures, internal components of the inflator are

propelled into the passenger compartment and can injure or kill the occupants.

       90.    In addition to propelling internal inflator components towards the driver, the

entire module assembly may also break free of the steering wheel and strike the driver,

which can also cause injury or death.

       91.    The mounting position, orientation, and location of passenger side ARC

hybrid inflators, in the passenger’s side dashboard, compared to the driver’s side inflator,

reduces but does not eliminate the risk of injury or death. ARC’s passenger side hybrid

inflators are mounted in an angled, vertical position with the gas exit port pointing towards

the windshield. This orientation, and the inflator’s location in the dashboard, reduces the

probability of the type of injuries associated with the driver’s side inflators.

       92.    As of May 17, 2022, all of the North American field events but one involved

a rupture of the driver’s side inflator, including the two fatalities.

       F.     Vehicle Manufacturer Defendants Have Known the Dangers of ARC’s
              Inflators and of Ammonium Nitrate.
       93.    The Vehicle Manufacturer Defendants have known of the hazards of their

inflators since at least 2015. In June 2014, Kia notified NHTSA of a lawsuit that said an

inflator had ruptured in an Optima sedan in New Mexico, injuring the driver. Federal

investigators found that, and another incident involved inflators ARC made that used




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ammonium nitrate.9 In July 2016, a 2009 Hyundai Elantra driver died when the driver’s

side airbag exploded after a low-speed collision in Newfoundland.10

          94.     At least seven known ruptures of ARC’s Defective Inflators have occurred

in vehicles, including six driver inflators and one passenger inflator. Two ruptures resulted

in drivers’ deaths. Two other passenger inflators ruptured during Lot Acceptance Testing

at ARC’s factory.

          95.     These ruptures have occurred in various states that do not share similar

climates, unlike the hot and humid climates Takata ruptures often involve. The Defective

Inflators involved were made at various ARC factories and included both single-stage and

dual-stage inflators. These facts strongly suggest a systemic design defect in the inflators—

especially use of PSAN-based propellant—rather than a manufacturing defect occurring at

one factory. Their occurring outside moisture intrusion situations indicate other factors can

trigger them, further challenging use of ammonium nitrate.

          96.     NHTSA noted ARC’s glaring and persistent manufacturing and quality

control problems in an October 2016 letter, noting ARC’s lack of information provided to

NHTSA, and ARC’s denying it had any obligation to provide information voluntarily. In

2018, ARC reportedly began a system to visually inspect the upper vessel of its inflators

to support tube friction welds before sale.




9
    Hiroko Tabuchi, Airbag Flaw Investigated at ARC Automotive, N.Y. Times (July 14, 2015).
10
  Hiroko Tabuchi, Another Airbag Maker is Under Scrutiny After Fatal Rupture, N.Y. Times (Aug. 4,
2016).

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        97.    TK Holdings, the survivor of Takata’s corporate reorganization, brought suit

against ARC alleging ARC breached its contract with Takata by supplying products with

improper welding. TK Holdings alleged the inflators were not reasonably fit for their

intended, anticipated, or reasonably foreseeable use.

        98.    NHTSA has been overseeing an investigation of ARC’s inflators that

commenced on July 27, 2015. The vehicle manufacturers have issued a series of partial,

confusing, and ineffective recalls to address the airbag defects.

        99.    An October 4, 2016, letter from NHTSA’s Office of Defect Investigation to

ARC’s CEO noted ARC had failed to notify NHTSA of multiple incidents involving ARC

products. ARC has questioned whether it needs to provide information to NHTSA, has

failed to provide documents in a readable format, and reportedly appeared nonchalant about

its testing.

        G.     Defendants’ Misconduct and Economic Injury to Plaintiff and the Class.

        100.   Like other ordinary consumers, Plaintiff reasonably believed when

purchasing her Class Vehicle that the vehicles were equipped with safe airbags that did not

have a dangerous propensity to shoot shrapnel into their faces, throats, torsos, and limbs,

or those of other vehicle occupants. The safe, reliable, and proper functioning of an airbag

inflator is a material component of an automobile purchase or lease because it is required

to ensure that the vehicle can safely and properly operate. Accordingly, the ordinary

reasonable consumer would have considered the Inflator Defect to constitute an important

and material part of deciding whether to spend money to purchase or lease a Class Vehicle.




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       101.   Defendants were aware that consumers did not expect that their airbags

would have a dangerous propensity to shoot metal shrapnel and had readily available means

to convey that information to Plaintiff and the Class—including through on-vehicle

labeling, stickers, and placards, through owner manuals, brochures, and pamphlets, through

advertising for the Class Vehicles, and through full and complete disclosure by way of

recalls. Plaintiff and the Class were exposed to such materials information prior to

purchasing or leasing their Class Vehicles, and the time of purchase or lease (through

interactions with Vehicle Manufacturer Defendants’ sales employees and other agents),

and every day they sat in their Class Vehicles. Indeed, Defendants had one obvious location

to convey a warning about an airbag defect: on the steering wheel itself, an item the driver

cannot help but see before ever driving the car.

       102.   Defendants nonetheless chose not to warn about or disclose the Inflator

Defect at any point in time. The Defendants’ concealment succeeded because each entity

in the chain between ARC and the Vehicle Manufacturer Defendants remained silent about

the Inflator Defect—resulting in the public, prospective purchasers and lessees, automobile

dealerships, automobile retailers, and automotive repair and service facilities remaining

unaware of the Inflator Defect, which successfully prevented any warning to Plaintiff and

the Class. The foreseeable and intended effect of the Defendants’ concerted silence was

that they all continued to profit from the sale, service, and use of the Defective Inflators

and Class Vehicles equipped with those inflators—with consumers bearing all the safety

risks and suffering economic losses as a result.




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      103.   Defendants intended to mislead and in fact misled reasonable consumers—

including Plaintiff and the Class—through their concealment of the Inflator Defect.

Defendants did so with the intent to generate and increase sales of the Class Vehicles,

thereby increasing Defendants’ relative share of the automotive components and

automobile vehicle markets.

      104.   The Class Vehicles have a diminished value compared to the price they

commanded when purchased or leased by Plaintiff and the Class because neither the market

nor any reasonable consumer would ignore the potential danger involved in an airbag

shooting metal shrapnel into the driver and passengers when assessing the value of an

automotive vehicle and whether to purchase or lease it. Consequently, Plaintiff and the

Class paid more for their Class Vehicles than they otherwise would have because of the

diminished value caused by Defendants’ concealment of the Inflator Defect.

      105.   Because the existence of the Inflator Defect in the Class Vehicles would have

been patently material to any reasonable consumer had it been disclosed, Plaintiff and the

Class would not have purchased or leased the Class Vehicles or would not have paid as

much for them were the Inflator Defect not concealed.

      106.   By concealing the Inflator Defect, Defendants implicitly distorted and

misrepresented the true value of every Class Vehicle such that Plaintiff and the Class

received a vehicle of different and substantially lesser value—one with a higher effective

cost—than they reasonably believed they were receiving. Stated differently, Plaintiff and

the Class surrendered more and acquired less in their transactions than they would have if

Defendants had disclosed the Inflator Defect in the Class Vehicles. Accordingly, Plaintiff

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and the Class did not realize the benefit of their bargain in purchasing or leasing the Class

Vehicles, and their expectations as ordinary reasonable consumers were not met.

       107.   Plaintiff and the Class paid substantially more than the market value

represented by the price bargained for. Plaintiff and the Class bargained on a particular

market value for their respective Class Vehicles. But because Defendants’ misconduct and

concealment resulted in Plaintiff and the Class receiving less than they bargained for,

Plaintiff and the Class effectively paid a price that was higher than that reflected in the

market price that they paid.

       108.   For these reasons, every Class Vehicle is worth less than Plaintiff and the

Class paid.

       109.   Through the use of misleading representations and concealment of the

Inflator Defect, Defendants commanded a price for every Class Vehicle that exceeded what

Plaintiff and the Class would have paid had they been fully informed.

       110.   Absent the false and misleading representations, Plaintiff and the Class

would only have been willing to pay less for the Class Vehicles, if they were willing to

purchase them at all.

       111.   In short, the cost of every Class Vehicle would have been lower absent

Defendants’ misconduct and concealment.

       112.   Defendants’ misconduct and concealment also created and sustained

increased market demand for the Class Vehicles and increased Defendants’ market share

relative to what consumer demand and Defendants’ market share would have been had they

not concealed the Inflator Defect. Plaintiff and the Class lost money as a result because

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they did not receive what they reasonably believed they were paying for due to Defendants’

misrepresentations and their concealment of the Inflator Defect, while Defendants realized

a commensurate gain because they did not deliver to Plaintiff and the Class what they

reasonably expected to receive in exchange for the money they paid.

       113.   Plaintiff and the Class detrimentally altered their positions and suffered

damages in an amount no less than the difference in value between what they reasonably

believed they were paying for and what they actually received.

IV.    TOLLING THE STATUTE OF LIMITATIONS

       A.     Plaintiff Did Not And Could Not Discover Her Claims.

       114.   Plaintiff and the Class had no knowledge of the misconduct and concealment

alleged herein, or of facts sufficient to place them on inquiry notice of the claims set forth

until August 2020 when the NHTSA expanded its Engineering Analysis to include

“toroidal shaped hybrid air bag inflators, both passenger and driver side” and requested

additional information form ARC specifically regarding the PH7 toroidal shaped hybrid

front passenger airbag inflator “to facilitate its investigation of the potential risk of

deployment-related field rupture.”

       115.   Plaintiff and the Class are consumers who purchased or leased Class

Vehicles. No information in the public domain was available to the Plaintiff and the Class

before August 2020 that revealed sufficient information to suggest that Defendants were

involved in the misconduct or concealment alleged herein. Therefore, the statute of

limitations did not begin to run because Plaintiff and the Class did not and could not




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discover their claims, or in the alternative, because fraudulent concealment tolled the

statute of limitations until, at the earliest, August 2020.

       116.      Plaintiff and the Class had no means of obtaining any facts or information

concerning any aspect of ARC’s dealings with the Airbag Module Defendants and the

Vehicle Manufacturer Defendants, much less the fact that they had engaged in the

misconduct and concealment alleged herein.

       117.      For these reasons, the statute of limitations as to Plaintiff’s and the Class’s

claims did not begin to run and has been tolled with respect to the claims that Plaintiff and

the Class allege in this Complaint.

       B.        Fraudulent Concealment Tolled the Statute of Limitations.

       118.      In the alternative, application of the doctrine of fraudulent concealment tolled

the statute of limitations on the claims asserted herein by Plaintiff and the Class. Plaintiff

and the Class did not discover, and could not discover through the exercise of reasonable

diligence, the existence of the misconduct and concealment alleged herein until when

NHTSA expanded its Engineering Analysis to include “toroidal shaped hybrid air bag

inflators, both passenger and driver side” and requested additional information from ARC

specifically regarding the PH7 toroidal shaped hybrid front passenger airbag inflator “to

facilitate its investigation of the potential risk of deployment-related field rupture” at the

very earliest.

       119.      Before that time, Plaintiff and the Class were unaware of Defendants’

unlawful conduct and did not know before then that they purchased or leased, and overpaid,

for Class Vehicles containing Defective Inflators throughout the United States. Little or no

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information, actual or constructive, was ever made available to Plaintiff or members of the

Class that even hinted to Plaintiff that she was being injured by Defendants’ misconduct

and concealment.

       120.   Defendants’ affirmative acts alleged herein, including acts in furtherance of

the misconduct, were wrongfully concealed, and carried out in a manner that precluded

detection.

       121.   By its very nature, the Defendants’ misconduct was inherently self-

concealing. Airbags and their components are not exempt from safety regulation and, thus,

Plaintiff and the Class reasonably considered that the Class Vehicles, including all the

automotive parts and components contained therein, that they purchased or leased met or

exceeded safety regulations. Accordingly, a reasonable person under the circumstances

would not have been alerted to begin to investigate the legitimacy of Defendants’ conduct

before August 2020 at the very earliest. Plaintiff and the Class could not have discovered

the misconduct or concealment at an earlier date by the exercise of reasonable diligence

because of the deceptive practices and techniques of secrecy employed by the Defendants

to avoid detection of, and fraudulently conceal, their misconduct.

       122.   Because the misconduct was both self-concealing and affirmatively

concealed by Defendants, Plaintiff and the Class had no knowledge of the misconduct, or

of any facts or information that would have caused a reasonably diligent person to

investigate whether misconduct existed, until August 202 at the very earliest.




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       123.   For these reasons, the statute of limitations as to Plaintiff’s and the Class’s

claims did not begin to run and has been tolled with respect to the claims that Plaintiff and

the Class have alleged in this complaint.

V.     CLASS ALLEGATIONS

       124.   “Class Vehicles” refers to all vehicles containing the defective toroidal stored

gas hybrid inflators manufactured by ARC for which there are representative Plaintiffs.

Plaintiff intends to amend this Complaint to add additional representative Plaintiffs and

Class Vehicles after further investigation and discovery.

       125.   The Class Vehicles are equipped with driver and passenger airbags

containing Defective Inflators. The Defective Inflators suffer from a common, uniform

defect that renders them vulnerable to rupturing and ejecting metal shrapnel. Certain

Vehicle Manufacturer Defendants have recalled various Class Vehicles based on the

Defective Inflators. Based on the incomplete, pre-discovery information available at this

time, and subject to additions and revisions based on information unearthed in discovery,

the Class Vehicles include those listed in the following table of Hyundai vehicles with

ARC hybrid inflators:




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       126.   Class Vehicles include those in the following table that similarly

preliminarily lists Kia vehicles with ARC hybrid inflators:




       127.   Each of the Class Vehicles were the subject of manufacturer’s representation

that the vehicles conformed to all applicable federal motor vehicle safety and theft

prevention standards in effect on the date of manufacture. Without this representation from

the Vehicle Manufacturer Defendants, the Class Vehicles would not have been sold to

Class Members, including Plaintiff.

       128.   The Defective Inflators ARC manufactured are identifiable, discrete physical

products that remain essentially unchanged when incorporated into a Class Vehicle. As a

result, the Defective Inflators follow a traceable physical chain of distribution from ARC

to the Airbag Module Defendants, to the Vehicle Manufacturer Defendants, to automobile

dealerships and retailers, and then to Plaintiff and the Class.

       129.   Defective Inflators that are incorporated into the assembly contain markings

identifying ARC as the manufacturer on a small label on the component. Defective

Inflators can therefore be physically traced through the supply chain.

       130.   Pursuant to Fed. R. Civ. P. 23(a), 23(b)(2) and 23(b)(3), Plaintiff brings this

action on behalf of a proposed National Class defined as follows:


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              All persons in the United States who currently own, lease or

              leased, a Class Vehicle in the United States.

       131.   Additionally, pursuant to Rules 23(b)(2) or 23(b)(3), Plaintiff will also or

alternatively seek certification of an Iowa Subclass defined as follows:

              All persons who currently own or lease or leased a Kia or

              Hyundai Class Vehicle in Iowa.

       132.   Unless otherwise stated, the term “Class” refers jointly and severally to the

National Class and the Iowa Subclass.

       133.   Excluded from the Class are: (a) each Defendant and its board members,

executive-level officers, attorneys, and immediate family members of such persons; (b) the

Court, the Court’s immediate family, and the Court staff; (c) any person who asserts a

personal injury or wrongful death claim caused by the Inflator Defect; and (d) all persons

who timely and properly exclude themselves from the Class.

       134.   Numerosity—Fed. R. Civ. P. 23(a)(1). The members of the proposed Class

are so numerous and geographically dispersed that individual joinder of all Class members

is impracticable.

       135.   Although Plaintiff does not know the precise number of Class members,

upon information and belief the Class would easily number in the thousands if not tens of

thousands.

       136.   Each of the Classes and their true size should be ascertainable because Class

members can readily be identified using registration records, sales records, production




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records, and other information kept by ARC and the Vehicle Manufacturer Defendants or

third parties in the usual course of business and within their control.

       137.   Typicality—Fed. R. Civ. P. 23(a)(3). Plaintiff’s claims are typical of other

Class members’ claims because Plaintiff and the Class all purchased or leased a Class

Vehicle containing Defective Inflators. All received less than full value Class Vehicles due

to the Inflator Defect and the Vehicle Manufacturer Defendants’ representations or

Defendants’ omissions. Class members, like Plaintiff, would not have purchased the Class

Vehicles or paid as much had Defendants not misrepresented the safety of the Class

Vehicles or concealed and omitted to disclose the Inflator Defect, which was unknown to

Plaintiff and to Class members alike.

       138.   Plaintiff and the Class were all exposed to the same or substantially the same

misrepresentations and the same omissions—namely, concealment of the Inflator Defect.

       139.   Plaintiff and each Class member sustained economic damages that are

calculable on a class-wide basis. The claims all arise from a single course of conduct and

each Class member would individually make similar legal and factual arguments to

establish Defendants’ liability.

       140.   There are no defenses available that are unique to Plaintiff.

       141.   Commonality & Predominance—Fed. R. Civ. P. 23(a)(2) & 23(b)(3).

Plaintiff and the Class are united by a community of interest in obtaining appropriate

remedies, including injunctive relief, repair, or replacement of the defective vehicles or

vehicle components, restitution, damages, and other available relief designed to redress

Defendants’ wrongful conduct. This action involves questions of law and fact that are

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common to Plaintiff and the Class, that are susceptible to common answers, and that

predominate over any individual questions specific to Plaintiff or any members of the

Class. These issues include:

   a. Whether the subject airbag inflators are defective;

   b. Whether the Class Vehicles are equipped with Defective Inflators;

   c. Whether Defective Inflators in the Class Vehicles pose an unreasonable safety risk

      or are otherwise material to reasonable consumers;

   d. Whether an ordinary reasonable consumer would have purchased or leased a Class

      Vehicle had they known of the Inflator Defect;

   e. Whether an ordinary reasonable consumer would have paid less money to purchase

      or lease a Class Vehicle had they known of the Inflator Defect—and if so, the

      diminution in Class Vehicle value that the Inflator Defect would have caused;

   f. Whether the Class Vehicles commanded a market premium because the Inflator

      Defect had not been disclosed to the public;

   g. Whether Plaintiff and the Class were denied the benefit of their bargain because of

      the undisclosed Inflator Defect;

   h. Whether Defendants had actual or constructive knowledge of the Inflator Defect;

   i. When Defendants first had actual or constructive knowledge of the Inflator Defect;

   j. Whether Defendants had a duty to disclose the Inflator Defect before or at the time

      Plaintiff and the Class purchased or leased their respective Class Vehicles;

   k. Whether Defendants had and have an ongoing duty to disclose the Inflator Defects;




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   l. Whether Defendants breached their express or implied warranties for the Class

       Vehicles and Defective Inflators;

   m. Whether Defendants violated the Magnuson-Moss Warranty Act;

   n. Whether Defendants violated laws prohibiting unfair and deceptive trade practices

       or similar consumer protection laws;

   o. Whether Defendants’ conduct unlawfully concealed the Inflator Defect;

   p. Whether Defendants’ conduct was knowing and willful;

   q. Whether Defendants were unjustly enriched by receiving Plaintiff’s and the Class

       members’ money for the Class Vehicles;

   r. Whether Defendants should be ordered to disgorge all or part of the monies received

       from Plaintiff and the Class for the Class Vehicles;

   s. Whether Plaintiff and the Class are entitled to damages, injunctive relief, restitution,

       or other relief sought in this Complaint; and

   t. The amounts to which Plaintiff and the Class are entitled.

       142.   These common issues will drive the resolution of the litigation in that their

determination will resolve in one stroke issues that are central to the validity of each Class

members’ claims.

       143.   The factual and legal issues identified above (a) remain common to the Class,

(b) arise from a common course of conduct and systemic policy decisions made by

Defendants; (c) predominate in number and importance over questions that may not be

common to the Class; and (d) preclude neither class-wide calculation of damages nor the




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methodological determination of how such damages should be allocated among Class

members.

       144.     Adequacy of Representation—Fed. R. Civ. P. 23(a)(4). Plaintiff is an

adequate Class representative because her interests do not conflict with the interests of the

other Class members. Plaintiff commits to protecting the interests of the Class without

exercising personal interest or otherwise acting in a manner inconsistent with the best

interests of the Class generally. Plaintiff has retained counsel with substantial experience

in handling complex litigation, including extensive class action experience and experience

in handling consumer protection and product liability cases, including automobile defect

claims. The firms and counsel for Plaintiff’s firms have substantial trial experience.

Plaintiff and her attorneys will responsibly, ethically, and vigorously advocate on behalf of

the Class, and counsel have ample resources to do so.

       145.     Predominance. The common questions of law or fact identified above are

substantially similar and predominate over those questions affecting only specific members

of the Class.

       146.     Superiority. This action is superior to other potential means of adjudication

within the meaning of Fed. R. Civ. P. 23(b) because the prosecution of separate actions by

individual Class members on these claims would create a risk of inconsistent or varying

adjudications for individual Class members, which would establish incompatible standards

of conduct for ARC and the Vehicle Manufacturer Defendants. Adjudication for some

Class members may dispose of others’ interests, or impair or impede their ability to protect

their interests.

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       147.    Absent a class action, most Class members would likely find the cost of

litigating their individual claims prohibitively high and would therefore have no effective

remedy at law. Because of the relatively small size of the individual Class members’

claims, only a few Class members could likely afford to seek bringing Defendants to justice

or obtaining redress for the violations.

       148.    This action satisfies the requirements of Fed. R. Civ. P. 23(b)(2) because

Defendants have acted and refused to act on grounds generally applicable to each Class

member, making final injunctive or declaratory relief appropriate with respect to each Class

as a whole.

       149.    This action satisfies the requirements of Fed. R. Civ. P. 23(b)(3) because a

class action is superior to other available methods for the fair and efficient adjudication of

this controversy. The common questions of law and of fact regarding Defendants’ conduct

and responsibility predominate over any questions affecting only individual Class

members.

       150.    Because the damages suffered by each individual Class member may be

relatively small, the expense and burden of individual litigation would make it difficult or

impossible for individual Class members to redress the wrongs done to each of them

individually, such that most or all Class members would have no rational economic interest

in individually controlling the prosecution of specific actions, and the burden imposed on

the judicial system by individual litigation by even a small fraction of the Class would be

substantial, making class adjudication the superior alternative under Fed. R. Civ. P.

23(b)(3)(A).

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       151.   The conduct of this action as a class action presents far fewer management

difficulties, far better conserves judicial resources and the parties’ resources, and far more

effectively protects the rights of each Class member than would piecemeal litigation.

Compared to the expense, burdens, inconsistencies, economic infeasibility, and

inefficiencies of individualized litigation, the challenges of managing this action as a class

action are substantially outweighed by the benefits to the legitimate interests of the parties,

the Court, and the public of class treatment in this Court, making class adjudication

superior to other alternatives, under Fed. R. Civ. P. 23(b)(3)(D).

       152.   Plaintiff is not aware of any obstacles likely to be encountered in the

management of this action that would preclude its maintenance as a class action. Rule 23

provides the Court with authority and flexibility to optimize the efficiencies of the class

mechanism and reduce management challenges. The Court may, on motion of the Plaintiff

or on its own determination, certify nationwide, statewide, or multistate classes for claims

sharing common legal questions, use Rule 23(c)(4) provisions to certify particular claims,

issues, or common questions of fact or law for class-wide adjudication, certify and

adjudicate bellwether claims, and use Rule 23(c)(5) to divide any Class into subclasses.

       153.   The Class expressly disclaims any recovery in this action for physical injury

resulting from the Inflator Defects without waiving or dismissing such claims.




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VI.           CLAIMS FOR RELIEF

                                      COUNT ONE
                                   NATIONAL CLASS
                                 Fraudulent Concealment
                                  Against All Defendants

       154.   Plaintiff incorporates by reference the allegations in the preceding

paragraphs.

       155.   Plaintiff brings this claim on behalf of the other members of the National

Class against all Defendants on the basis that the state laws involved do not conflict with

one another in a case-dispositive manner and they involve the same key elements.

Alternatively, Plaintiff brings this claim under the laws of their respective states.

       156.   As Defendants concealed and suppressed material facts regarding the

Defective Airbags and Class Vehicles—most importantly, the Inflator Defect and their

resulting propensity to cause the inflator to rupture and expel metal shrapnel that tears

through the airbag and poses a threat of serious injury or death to occupants.

       157.   Defendants took steps to ensure that their employees did not reveal known

safety defects to regulators or consumers.

       158.   On information and belief, Defendants still have not made full and adequate

disclosure, continue to defraud Plaintiff and the Class, and continue to conceal material

information regarding the Inflator Defect that exists in the Defective Airbags.

       159.   Defendants had a duty to disclose the Inflator Defect because each

Defendant:




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           i. Had exclusive and/or far superior knowledge and access to the facts than

              Plaintiff and the Class, and knew the facts were not known to or reasonably

              discoverable by Plaintiff and the Class;

          ii. Intentionally concealed the foregoing from Plaintiff and the Class;

         iii. Were required to accurately describe the vehicle’s air bag system in an easily

              understandable format under 49 C.F.R. § 571.208 S4.5.1(f)(1);

         iv. Were required to provide any necessary precautions regarding the proper

              positioning of occupants to ensure maximum safety protection of those

              occupants within the owner’s manual under 49 C.F.R. § 571.208

              S4.5.1(f)(1); and

          v. Made incomplete representations about the safety and reliability of the

              Defective Airbags and, by extension, the Class Vehicles, while purposefully

              withholding material facts from Plaintiff and the Class that contradicted these

              representations. These incomplete representations include representations

              made under 49 C.F.R. § 567.4.

       160.   These omitted and concealed facts were material because they would be

relied on by a reasonable person purchasing, leasing, or retaining a new or used motor

vehicle, and because they directly impact the value of the Class Vehicles purchased or

leased by Plaintiff and the Class. Whether a manufacturer’s products are safe and reliable,

and whether that manufacturer stands behind its products, are material concerns to a

consumer. Plaintiff and the Class trusted Defendants not to sell or lease them vehicles that

were defective or that violated federal law governing motor vehicle safety.

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          161.   Defendants concealed and suppressed these material facts to falsely assure

purchasers and consumers that its airbags and vehicles could perform safely, as represented

by Defendants and reasonably expected by consumers.

          162.   Defendants concealed and suppressed these material facts to falsely assure

purchasers and consumers that its airbags and vehicles could perform safely, as represented

by Defendants and reasonably expected by consumers.

          163.   Plaintiff and the Class were unaware of these omitted material facts and

would not have acted as they did if they had known of the concealed and/or suppressed

facts.

          164.   Had they been aware of the Defective Airbags installed in their Class

Vehicles, and Defendants’ callous disregard for safety, Plaintiff and the Class either would

have paid less for their Class Vehicles or would not have purchased or leased them at all.

Plaintiff and the Class did not receive the benefit of their bargain because of Defendants’

fraudulent concealment.

          165.   Because of the concealment and/or suppression of the facts, Plaintiff and the

Class sustained damage because they own vehicles that diminished in value because of

Defendants’ concealment of, and failure to timely disclose, the serious defects in millions

of Class Vehicles and the serious safety and quality issues caused by Defendants’ conduct.

          166.   The value of all Class Vehicles has diminished because of Defendants’

fraudulent concealment of the Defective Airbags and made any reasonable consumer

reluctant to purchase any of the Class Vehicles, let alone pay what otherwise would have

been fair market value for the vehicles.

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          167.   Accordingly, Defendants are liable to the Class for damages in an amount to

be proven at trial.

          168.   Defendants’ acts were done maliciously, oppressively, deliberately, with

intent to defraud, and in reckless disregard of Plaintiff’s and the Class’s rights and well-

being, and with the aim of enriching Defendants. Defendants’ conduct, which exhibits the

highest degree of reprehensibility, being intentional, continuous, placing others at risk of

death and injury, and effecting public safety, warrants an assessment of punitive damages

in an amount sufficient to deter such conduct in the future, in an amount to be proven at

trial.

                                      COUNT TWO
                                   NATIONAL CLASS
                      Breach of Implied Warranty of Merchantability
                                  Against All Defendants

          169.   Plaintiff incorporates by reference the allegations in the preceding

paragraphs.

          170.   Plaintiff brings this claim on behalf of the other members of the National

Class against all Defendants on the basis that the state laws involved do not conflict with

one another in a case-dispositive manner and they involve the same key elements.

Alternatively, Plaintiff brings this claim under the laws of their respective states.

          171.   ARC is and was at all relevant times a merchant with respect to motor vehicle

component parts, such as airbag inflators and a seller of motor vehicle component parts,

such as airbag inflators.




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       172.     The Vehicle Manufacturer Defendants are and were at all relevant times

merchants with respect to motor vehicles and sellers of motor vehicles.

       173.     The Class Vehicles and component parts, such as airbag inflators, are and

were at all relevant times goods.

       174.     A warranty that the Class Vehicles and component parts, such as airbag

inflators, with the Inflator Defect were in merchantable condition and fit for the ordinary

purpose for which such goods are used is implied by law.

       175.     At the time of sale and all times thereafter, the Class Vehicles and component

parts, such as airbag inflators, were not merchantable and not fit for the ordinary purpose

for which these goods are used. Specifically, the Class Vehicles are inherently defective in

that they are equipped with Defective Airbags with the Inflator Defect that have a resulting

propensity to rupture and expel metal shrapnel that poses a threat of serious injury or death

to occupants.

       176.     On information and belief, Defendants had notice of these issues by

numerous complaints filed against them, internal investigations, and by the ongoing

NHTSA Investigation into the Defective Airbags containing the Inflator Defect, or within

a reasonable amount of time after Defendants issued the recalls and the allegations of the

Airbag Defect became public. Moreover, Defendants were aware of these problems long

before Plaintiff and the Class and had ample notice and opportunity to correct them.

       177.     As a direct and proximate result of Defendants’ breach of the implied

warranty of merchantability, Plaintiff and the Class have been damaged in an amount to be

proven at trial.

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                                    COUNT THREE
                                  NATIONAL CLASS
                               Negligent Misrepresentation
                                 Against All Defendants

       178.   Plaintiff incorporates by reference the allegations in the preceding

paragraphs.

       179.   Plaintiff brings this claim on behalf of the other members of the National

Class against all Defendants on the basis that the state laws involved do not conflict with

one another in a case-dispositive manner and they involve the same key elements.

Alternatively, Plaintiff brings this claim under the laws of their respective states.

       180.   Defendants owed a duty to disclose the Inflator Defect and its corresponding

safety risk to Plaintiff and Class members because Defendants knew or should have known

of the Inflator Defect and the risks associated with the manifestation of the Inflator Defect.

Defendants also made partial disclosures regarding the safety of the component parts of the

Class Vehicles, such as airbag inflators, while Defendants either knew or should have

known that these Class Vehicles possessed the Inflator Defect and failed to disclose its

existence and its corresponding safety hazard.

       181.   ARC was required to accurately describe the vehicle’s air bag system in an

easily understandable format and to disclose any necessary precautions regarding the

proper positioning of occupants to ensure maximum safety protection of those occupants

within the owner’s manual under 49 C.F.R. § 571.208 S4.5.1(f)(1).




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       182.   ARC negligently misrepresented and omitted material facts concerning the

standard, quality, or grade of the component parts of the Class Vehicles and the existence

of the Inflator Defect exposing drivers and occupants to safety risks.

       183.   The Vehicle Manufacturer Defendants negligently misrepresented and

omitted material facts, in owners’ manuals, maintenance schedules, the § 567.4 Placard, or

elsewhere, concerning the standard, quality, or grade of the Class Vehicles and the

existence of the Inflator Defect exposing drivers and occupants to safety risks. The Vehicle

Manufacturer Defendants misrepresented that they would remedy any defects under the

express warranties but limited their coverage to mechanical defects.

       184.   As a direct result of Defendants’ negligent conduct, Plaintiff and Class

members have suffered actual damages.

       185.   The Inflator Defect is material because it presents a safety risk and places the

driver and occupants at risk of serious injury or death. The Inflator Defect may cause the

inflator to rupture and expel metal shrapnel that poses a threat of serious injury or death to

occupants. No reasonable consumer expects a component part of a vehicle to contain a

defect in design and manufacturing, such as the Inflator Defect, that can cause serious

injury or death to consumers.

       186.   Plaintiff and Class members would not have purchased the Class Vehicles

but for Defendants’ negligent omissions of material facts regarding the nature and quality

of the Class Vehicles and existence of the Inflator Defect and corresponding safety risk or

would have paid less for the Class Vehicles. Plaintiff and Class members justifiably relied

upon Defendants’ negligent false representations and omissions of material facts.

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       187.     As a direct and proximate result of Defendants’ negligent false

representations and omissions of material facts regarding the standard, quality or grade of

the Class Vehicles with the Inflator Defect, Plaintiff and Class members have suffered an

ascertainable loss and actual damages in an amount to be determined at trial.

                                      COUNT FOUR
                                    NATIONAL CLASS
                                    Unjust Enrichment
                                   Against All Defendants

       188.     Plaintiff incorporates by reference the allegations in the preceding

paragraphs.

       189.     Plaintiff brings this claim on behalf of the other members of the National

Class against all Defendants on the basis that the state laws involved do not conflict with

one another in a case-dispositive manner and they involve the same key elements.

Alternatively, Plaintiff brings this claim under the laws of their respective states.

       190.     Defendants have received and retained a benefit from Plaintiff and inequity

has resulted.

       191.     Defendants benefitted from selling Defective Airbags and Class Vehicles for

more than they were worth, at a profit, and Plaintiff and the Class overpaid for the Class

Vehicles as a result and have been forced to pay other costs.

       192.     It is inequitable for Defendants to retain these benefits.

       193.     As a result of Defendants’ conduct, the amount of its unjust enrichment

should be disgorged, in an amount to be proven at trial.




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                                     COUNT FIVE
                                  NATIONAL CLASS
                    Violation of the Magnuson-Moss Warranty Act
                    Against the Vehicle Manufacturer Defendants

        194.   Plaintiff incorporates by reference the allegations in the preceding

paragraphs.

        195.   Plaintiff brings this claim for violation of the Magnusson-Moss Warranty Act

(15 U.S.C. § 2301, et seq.) on behalf of the National Class against the Vehicle Manufacturer

Defendants.

        196.   Plaintiff and the Class are “consumers” under 15 U.S.C. § 2301(3).

        197.   Defendants are “suppliers” and “warrantors” under 15 U.S.C. § 2301(4) and

(5).

        198.   The Class Vehicles are “consumer products” under 15 U.S.C. § 2301(6).

        199.   Defendants provided an implied warranty of merchantability as part of its

business of supplying and profiting from the sale of the Class Vehicles and the Defective

Inflators. This warranty of merchantability includes that the Class Vehicles’ airbag

inflators were fit for their ordinary purpose (i.e., that they would safely deploy rather than

shooting metal shrapnel at the drivers and passengers), would pass without objection in the

trade as designed, manufactured, and marketed, and were adequately and properly

contained, packaged, and labeled.

        200.   Defendants breached their warranty for the Class Vehicles’ inflators because:




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           i. The airbag inflators have latent defects which cause them to have a

               dangerous propensity to rupture and eject metal shrapnel, thereby subjecting

               Plaintiff and the class to the risk of loss and injury;

           ii. Defendants denied and concealed the existence of the Inflator Defect, in the

               process refusing to pay for needed repairs and replacements for Plaintiff and

               the Class; and

          iii. Defendants failed to provide the needed repair or replacement for the

               fundamental design defect impacting the Class Vehicles.

       201.    Plaintiff and the Class sustained damages and other losses due to Defendants’

breach of their warranties. Plaintiff and the Class will suffer irreparable harm if Defendants

are not ordered to properly repair all the Class Vehicles and Defective Inflators

immediately, offer rescission by repurchasing their defective Class Vehicles for their full

cost, and reimburse the owners and lessees of the Class Vehicles for the monies they have

paid to own and lease the vehicles.

       202.    Resorting to any informal dispute resolution procedure or affording

Defendants a reasonable opportunity to cure its warranty breaches to Plaintiff and the Class

is unnecessary and futile. At the time they sold or leased the Class Vehicles, Defendants

knew, should have known, or were reckless in not knowing of their misrepresentations or

omissions concerning the Inflator Defect, but nevertheless failed to rectify the situation or

disclose it to Plaintiff or the Class.

       203.    Moreover, the remedies available through any informal dispute resolution

procedure would be wholly inadequate under the circumstances. Accordingly, any

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statutory requirement that Plaintiff resort to an informal dispute resolution procedure or

afford Defendants a reasonable opportunity to cure its breach of written warranties is

excused and, thereby, deemed satisfied.

       204.     Plaintiff, individually and on behalf of the Class, seeks all available monetary

damages (including actual, compensatory, and punitive damages), injunctive and equitable

relief, and attorneys’ fees and costs and any other applicable relief sought in the Prayer for

Relief below.

                                     COUNT SIX
                                  IOWA SUBCLASS
              Violations of Iowa Private Claim For Consumer Frauds Act
                                  (Iowa Code § 714H)
                                Against All Defendants

       205.     Plaintiff incorporates by reference the allegations in the preceding

paragraphs.

       206.     Plaintiff brings this claim individually and on behalf of the other members of

the Iowa Subclass.

       207.     The Iowa “Private Right of Action for Consumer Frauds Act” prohibits

unfair and deceptive trade practices in the sale, lease, or advertisement of a product or

service, and in the solicitation of charitable contributions. The Act’s purpose is to protect

consumers against these unfair and deceptive business practices, and to provide efficient

and economical procedures to secure such protection.

       208.     Plaintiff’s right as a consumer to bring this action at law derives from the

Iowa “Private Right of Action for Consumer Frauds Act,” 714H. The Iowa legislature

enacted the Iowa “Private Right of Action for Consumer Frauds Act” to allow Iowa

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consumers who have been victimized by an unfair or deceptive trade business practice to

obtain damages and other such equitable relief as the Court deems necessary to protect the

public from further violations.

       209.   Specifically, Plaintiff alleges that Defendants have violated the Iowa “Private

Right of Action for Consumer Frauds Act” by engaging in the unfair and/or deceptive acts

and practices set forth within the Act. Defendants concealed and suppressed material facts

regarding the Defective Airbags and Class Vehicles—most importantly, the Inflator Defect

and their resulting propensity to cause the inflator to rupture and expel metal shrapnel that

tears through the airbag and poses a threat of serious injury or death to occupants.

Defendants’ unfair and deceptive business practices were and are intended to and did and

do result in the purchase of Defendants’ products by consumers, including Plaintiff, in

violation of the Iowa “Private Right of Action for Consumer Frauds Act.”

       210.   As a result of Defendants’ unfair and/or deceptive business practices,

Plaintiff and the Class have in that they paid for products that did not have the benefit as

represented. Plaintiff seeks and is entitled to actual damages, an order enjoining Defendants

from continuing to engage in the unfair and deceptive business practices alleged herein,

and all costs and reasonable attorney fees.

       211.   The Iowa “Private Right of Action for Consumer Frauds Act” authorizes, in

addition to actual damages, statutory damages up to three times the amount of actual

damages if a Defendant’s practice constitutes willful and wanton disregard for the rights

or safety of another. Defendants concealed and suppressed material facts about a safety

risk that places the driver and occupants of Class Vehicles at risk of serious injury or death.

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On information and belief, Defendants had notice of these issues by numerous complaints

filed against them, internal investigations, and by the ongoing NHTSA Investigation into

the Defective Airbags containing the Inflator Defect. This shows willful and wanton

disregard for the rights and safety of Plaintiff and the Class, and entitles them to statutory

damages, in an amount to be proved at trial.

        212.   Plaintiff and her counsel have sought and have obtained the approval to bring

this claim pursuant to §714H.7.

VII.    PRAYER FOR RELIEF

        Plaintiff requests that judgment be entered against Defendants as follows:

        A.     That this action be certified as a class action;

        B.     That Plaintiff be appointed as the representative of the Class;

        C.     That Plaintiff’s attorneys be appointed as Class Counsel;

        D.     For an order declaring Defendants’ conduct unlawful;

        E.     For an order for Defendants to make restitution to Plaintiff and the Class in

               an amount to be proven at trial;

        F.     For actual damages;

        G.     For statutory or other liquidated damages, as applicable;

        H.     For pre and post-judgment interest at the legal rate to the extent available;

        I.     For injunctive and other equitable relief as appropriate;

        J.     For attorney’s fees, costs of this action, and out-of-pocket costs; and,

        K.     For such other and further relief that the Court deems proper.




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Dated: November 29, 2022         SHINDLER, ANDERSON, GOPLERUD &
                                 WEESE, P.C.


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